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           EXHIBIT C
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 1                    IN THE UNITED STATES DISTRICT COURT
 2                     NORTHERN DISTRICT OF CALIFORNIA
 3
 4
 5
 6           ROADRUNNER RECYCLING, INC.,             )
 7                                Plaintiff,         ) Case No.
 8                                                   ) 3:23-CV-04804-WHA
 9           V.                                      )
10           RECYCLE TRACK SYSTEMS, INC., )
11           RECYCLESMART SOLUTIONS, INC.,)
12                                  Defendant.       )
13           --------------------------              )
14
15                HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
16           ---    This is the Videotaped Deposition of YAHYA
17           LARAKI, taken at Spaces Cite Multimedia, 75
18           Queen Street, Suite 1400, Montreal, Quebec, on
19           the 7th day of August, 2024
20                                   ------------
21
22                 REPORTED BY:      LEILA HECKERT, CVR, RCP-M
23                        VIDEOGRAPHER:        DAVID OXILIA
24                                   ------------
25                                JOB NO. 6807830

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 1     don't know.                                             1          BY MR. GIBSON:
 2            Q. And what was this person doing?               2          Q. And why couldn't you use the
 3            MR. GALICA: Objection.                           3   Pello images to start with?
 4            THE WITNESS: Machine learning.                   4          A. Because we already have labeled
 5            BY MR. GIBSON:                                   5   images from Compology, and we wanted to test if
 6            Q. And specifically, what was the                6   that was giving us good results.
 7     person doing with the Compology images in terms         7          Q. And what did the tests show?
 8     of machine learning?                                    8          A. It was very bad results, around
 9            MR. GALICA: Objection.                           9   random. So when a machine learning model, when
10            THE WITNESS: It -- he used AutoML               10   you have two classes, give around a 50 percent
11     model, which is automatic machine learning,            11   accuracy, which means that your model didn't
12     basically, to take the images from Compology and       12   learn anything and is just spitting random
13     pass them through the AI model and experiment          13   number predictions.
14     with the results. So to see what -- what was           14          Q. And you still have the results
15     the performance of that when we test it against        15   from this model?
16     Pello images in the test set.                          16          A. No.
17            BY MR. GIBSON:                                  17          Q. Where did it go?
18            Q. And was this person working with             18          A. During the acquisition of Recycle
19     you?                                                   19   Smart by RTS, we migrated all the data we had on
20            A. Yes. Yes.                                    20   our laptops from the old -- from Recycle Smart
21            Q. And where is this person now?                21   to RTS, and we had to transfer the data. I had
22            A. I don't know.                                22   all the machine learning projects on my local
23            Q. Do they still work for RTS?                  23   computer, and I decided to only transfer the
24            A. No.                                          24   data that we actually use and was relevant for
25            Q. Do you know when they left?                  25   us. And -- because we -- like, at the
                                                    Page 62                                                    Page 64

 1            A. They left three months after                  1   iterations, the later iteration, we didn't use
 2     starting. He left three months.                         2   any Compology images, I just didn't transfer
 3            Q. Was this person working on trying             3   them when we did the migration.
 4     to detect contamination before you started at           4          Q. When was this?
 5     Recycle Smart, to your knowledge?                       5          A. I don't recall the exact date,
 6            MR. GALICA: Objection.                           6   but I recall it was before we received any --
 7            THE WITNESS: No. It was the exact                7   the injunction to not delete any documents, et
 8     same time we started.                                   8   cetera, it was before that.
 9            BY MR. GIBSON:                                   9          Q. You said you remember the
10            Q. And were you both reporting to               10   specific date?
11     Mr. Anderson?                                          11          A. No.
12            A. Can you...                                   12          Q. And when you say you didn't
13            Q. Okay. Were you both reporting --             13   migrate them, what happened to -- what happened
14            A. Yes.                                         14   to the -- what happened to the data when it
15            Q. So, is this person assisting you             15   wasn't migrated?
16     in trying to detect contamination levels, or           16          A. It was deleted.
17     were you working alongside each other?                 17          Q. It was?
18            A. In parallel, we're working in                18          A. It was deleted, or non-migrated,
19     parallel on this project.                              19   to be more precise.
20            Q. And was it this person's idea to             20          Q. What happened to the device that
21     use the Compology images or your idea or someone       21   it was on? Well, it was on a device that wasn't
22     else's?                                                22   migrated. What happened to the original --
23            MR. GALICA: Objection.                          23          A. It was formatted, so.
24            THE WITNESS: I don't recall.                    24          Q. So it was reformatted and erased?
25                                                            25          A. Yeah.
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                                                                                                17 (Pages 62 - 65)
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 1     there's not, versus it says there's no                  1         BY MR. GIBSON:
 2     contamination when there is?                            2         Q. Yes?
 3            A. Yes.                                          3         A. Yes.
 4            Q. And you remember that is the                  4         Q. And then we'll show you what you
 5     months went by that you fine-tune the model             5   wrote back a few minutes later is Exhibit 51.
 6     trained on Compology images to Pello images and         6   Fifty-one is an email from yourself a few
 7     then got a huge bump in improvement?                    7   minutes later to Mr. Lin, and you wrote:
 8            MR. GALICA: Objection.                           8            "No, I train on Compology first
 9            THE WITNESS: Yes.                                9         and then on Pello."
10            BY MR. GIBSON:                                  10         Do you see that?
11            Q. And in fact, you reported that to            11         EXHIBIT NO. 51: From Yahya Laraki to
12     your colleagues. Correct?                              12         Boken Lin. March 17th, 2022.
13            A. Yes.                                         13         Subject: "Conversation with Yahya
14            Q. On Exhibit 49 is an email from               14         Laraki."
15     yourself to Mr. Lin on March 17th, 2022 at 1:16.       15         THE WITNESS: Yes.
16     Do you see that?                                       16         BY MR. GIBSON:
17            EXHIBIT NO. 49: Email from Yahya                17         Q. And that was correct. Right?
18            Laraki to Boken Lin. March 17th,                18         A. Back in the time, yes.
19            2022. Subject: "Conversation with               19         Q. Do you remember why you had
20            Boken Lin."                                     20   Subject: "Conversation with Yahya Laraki," and
21            THE WITNESS: Yep.                               21   then you had these emails?
22            BY MR. GIBSON:                                  22         A. Sorry?
23            Q. And do you remember this                     23         Q. Is there a reason why you have
24     conversation at all, or only once in the mail?         24   the subject line of these emails is a
25            A. Not really but yeah, I have the              25   conversation as opposed to an email? It was
                                                   Page 134                                                 Page 136

 1     gist of it.                                      1          actually a phone conversation, too?
 2            Q. And you wrote:                         2                 A. I don't recall this at all.
 3                 "Yeah. And I fine-tuned the          3                 Q. And I just asking you more
 4            model trained on Compology images to      4          generally, inside of Recycle Smart around this
 5            Pello images, so I got a huge amount      5          time, did people have a practice when you were
 6            of improvement there."                    6          writing emails to them or receiving emails from
 7            Right?                                    7          them of putting in the subject line
 8            A. Yeah.                                  8          "Conversation with..."?
 9            Q. And that was true, right?              9                 A. I don't remember this.
10            MR. GALICA: Objection.                   10                 Q. We've seen it a few different
11            THE WITNESS: Yes.                        11          times today. So I was just curious if there was
12            BY MR. GIBSON:                           12          a reason why that appears.
13            Q. Let's look at Exhibit 50. And         13                 A. I noticed something weird. Why
14     Exhibit 50 is an email from Mr. Lin to yourself 14          is it my current email address that is shown
15     shortly -- looks like a couple of minutes after 15          there because...
16     the email we looked at, Exhibit 49. And here I 16                  Q. As opposed to Recycle Smart?
17     see:                                            17                 A. Yeah.
18                 "Are you training the Pello         18                 Q. I was going to ask that as well.
19            images together with and Compology?"     19          I think all of the emails that we've seen are
20            Do you see that?                         20          from rts.com@recyclesmart. Do you know how that
21            EXHIBIT NO. 50: Email from Boken Lin 21              occurred?
22            to Yahya Laraki. March 17th, 2022.       22                 A. No, no.
23            Subject: "Conversation with Boken        23                 Q. And Exhibit 52 looks like an
24            Lin."                                    24          email from March 25th, 2022 to yourself with a
25            THE WITNESS: Um-hmm.                     25          subject line that's in French. You should take
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 1           A. Forever.                                      1           Q. Did you search for any documents
 2           Q. So you have that all the way back             2    to prepare for your deposition today?
 3     to when?                                               3           A. No.
 4           A. Since it was deployed initially.              4           Q. And you have turned over
 5           Q. Do you know what happened to the              5    documents to counsel. Correct?
 6     Compology images that were downloaded? I think         6           A. Yes.
 7     we saw reference to as many as 600,000 or two          7           Q. Can you describe what you turned
 8     batches of 40,000. And what happened to those?         8    over?
 9           MR. GALICA: Objection.                           9           A. PowerPoints. Source code, the
10           THE WITNESS: I never had this amount            10    metadata associated with some images.
11     of images.                                            11           Q. What do you mean by "metadata
12           BY MR. GIBSON:                                  12    associated with some images"?
13           Q. And I'm just asking if you know              13           A. The Pello images, when the
14     what happened to the images themselves.               14    image -- because I had on my local computer only
15           MR. GALICA: Objection.                          15    the image, and for the counsel, I imported also
16           THE WITNESS: The Compology images?              16    the time at which the image was taken exactly,
17           BY MR. GIBSON:                                  17    and in which store it was taken from.
18           Q. Yes.                                         18           Q. Where did you get that
19           A. The 40,000.                                  19    information from?
20           Q. Yes.                                         20           A. From the Pello backend PostgreSQL
21           A. These were no -- never -- like               21    database.
22     there was never 40,000 images that was                22           Q. Anything else you provided to
23     downloaded.                                           23    counsel?
24           Q. Well, that you know of. Are you              24           A. This is what I recall. Yeah, so,
25     aware of --                                           25    yeah, all the documents that I had -- yeah --
                                                  Page 214                                                           Page 216

 1           A. That I know of, yes.                          1   in -- in my laptop about AI and ML that I find
 2           Q. You're not -- you don't know what             2   necessary.
 3     happened before you got to Recycle Smart, right?       3         Q. So anything else you can
 4           A. Yes, correct.                                 4   specifically recall?
 5           Q. I understand you don't have any               5         A. No.
 6     Compology images anymore because they were on          6         Q. I don't have any further
 7     your old computer that was reformatted and             7   questions at this time. I would note you were
 8     erased. Right?                                         8   designated on a topic just yesterday when I was
 9           A. Yes.                                          9   flying, and I hadn't the opportunity to prepare
10           Q. But you don't know if there are              10   for that. And we also are entitled to the
11     people inside of Recycle Smart or RTS that still      11   documents that were used to prepare the witness,
12     have Compology images?                                12   so subject to that, I don't have any questions
13           MR. GALICA: Objection.                          13   for today.
14           THE WITNESS: In their local laptop?             14         MR. GALICA: Sure. I mean, we feel
15           BY MR. GIBSON:                                  15   that you were given proper notice and he was
16           Q. Yes.                                         16   here to talk about all the different topics.
17           A. No.                                          17   You can still ask him about that topic.
18           Q. You don't know?                              18         MR. GIBSON: But I don't have -- I
19           A. I don't know, I don't know that.             19   don't have the ability to access documents
20           Q. Did you ask anyone?                          20   today. Okay. We're on the plane yesterday.
21           A. No.                                          21         MR. GALICA: Yeah. And we produced
22           Q. Did you talk with anyone other               22   everything that we think we were required to
23     than your counsel to prepare for your deposition      23   produce. So I have a few follow-up questions.
24     today?                                                24         REDIRECT EXAMINATION BY MR. GALICA:
25           A. No.                                          25
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 1     you had -- did an initial run of Pello images on       1          THE WITNESS: Yeah, I continue to
 2     ConvNeXt and on ResNet at the same time. Right?        2   improve the ConvNeXt model.
 3            MR. GALICA: Objection.                          3          BY MR. GIBSON:
 4            THE WITNESS: It's just the "same                4          Q. I understand. How, is what I'm
 5     time" that keeps -- yeah. It was not at the            5   looking for. How did you do it?
 6     same -- I had the performance of the ResNet. I         6          A. By continuously adding more --
 7     didn't touch it again, and then I was working on       7   testing the model on Pello images and the
 8     the ConvNeXt. I don't recall if the first ever         8   iteration process that I described. So the
 9     training of that model gave me better results          9   wrong classification of those images, I add them
10     than the ResNet or not. One thing I know for          10   to my training data, I retrain the model, it
11     sure is that at the end of this iterations, the       11   improves the performance. But it's still making
12     ConvNeXt model performed better.                      12   mistakes. I go check those mistakes, try to add
13            Q. And that's fine. That's not                 13   them to the training data. And I continue like
14     worth getting to. We have to go this step by          14   this.
15     step so we stay in time.                              15          Q. And do you have any record of
16            So you don't recall when you did the           16   what images you used to do that?
17     very first iteration of the ConvNeXt model            17          A. I used Pello images to do that.
18     whether it was better or worse than the ResNet        18          Q. No. Do you know which images?
19     model. Right?                                         19          A. What do you mean by "which
20            MR. GALICA: Objection.                         20   images"?
21            THE WITNESS: Yes, yes.                         21          Q. Do you know what specific images
22            BY MR. GIBSON:                                 22   you used to train the ConvNeXt model?
23            Q. And there's no way to tell                  23          A. Yes, these images, I still have
24     because you didn't keep that data.                    24   them today. The Pello images that -- that were
25            A. No.                                         25   used to train the ConvNeXt model, I still have
                                                  Page 226                                                  Page 228

 1            Q. We can't -- we can't refresh your      1         them.
 2     memory because we don't have any data. Right? 2                   Q. Do they -- do you know what order
 3            A. No.                                    3         you trained the ConvNeXt model on those images?
 4            Q. That's right. You have no data?        4                A. What?
 5            MR. GALICA: Objection.                    5                Q. What order did you feed the
 6            BY MR. GIBSON:                            6         model?
 7            Q. From that very first run on            7                A. What do you mean by "what order"?
 8     ConvNeXt, you don't have that data?              8                Q. Well, you went through several
 9            A. No.                                    9         iterations. Did you use the same images each
10            MR. GALICA: Objection.                   10         iteration?
11            BY MR. GIBSON:                           11                A. No.
12            Q. Do you know what happened to that     12                Q. So that's my question.
13     data.                                           13                Do you know when you did the second
14            A. Yeah. It was -- when I                14         iteration, what images you used?
15     transferred to the -- when we formatted the     15                A. Versus the first?
16     laptop, I kept only the models, the data that I 16                Q. Yes.
17     had use for. So I kept only Pello images and    17                A. Like the -- no.
18     only the best model that I trained because I    18                Q. Do you know for the third
19     trained maybe 20, 50 different models. And at   19         iteration?
20     the end, I take the best one.                   20                A. No.
21            Q. Do you know sitting here today        21                Q. Or the fourth iteration?
22     when you saw the results between ConvNeXt and 22                  A. No.
23     ResNet how you continue then to improve the     23                Q. Or the fifth iteration?
24     ConvNeXt model?                                 24                A. No. It just keeps adding to the
25            MR. GALICA: Objection.                   25         training data, the original one.
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 1            Q. And in the meantime, ResNet is            1          MR. GALICA: We disagree with that.
 2     out being used in Pello devices that are out in     2   Everything had been produced and we think you
 3     the field. Right?                                   3   had ample time to prepare and the whole day for
 4            MR. GALICA: Objection.                       4   asking questions about off topic he was
 5            THE WITNESS: I don't know that.              5   designated on. I don't have any further
 6            BY MR. GIBSON:                               6   questions.
 7            Q. Who would know that?                      7          MR. GIBSON: That's fine. I think
 8            A. I don't know.                             8   Judge Alsup's rules are clear. So we'll send
 9            Q. Mr. Anderson know that?                   9   you an email about that.
10            A. Maybe.                                   10          MR. GALICA: We do think they are
11            Q. You are aware that ResNet was            11   clear.
12     used on Pello devices that were out with           12          THE VIDEOGRAPHER: This concludes the
13     customers. Right?                                  13   deposition of Yahya Laraki. Going off the
14            MR. GALICA: Objection.                      14   record at 3:59 pm.
15            THE WITNESS: I'm not sure about this.       15          -- [Whereupon the examination
16            BY MR. GIBSON:                              16   concludes at 3:59 P.M.]
17            Q. Do you know when Pello or Recycle        17
18     Smart started reporting to customers when there    18
19     was a contamination problem?                       19
20            A. No.                                      20
21            Q. Do you know what the accuracy of         21
22     the ResNet model was in the final version for      22
23     contamination levels?                              23
24            MR. GALICA: Objection.                      24
25            THE WITNESS: I don't recall the exact       25
                                               Page 230                                                  Page 232

 1     number. No.                                       1              CERTIFICATE OF REPORTER
 2           BY MR. GIBSON:                              2     CANADA
 3           Q. Was it over 90 percent?                  3     PROVINCE OF ONTARIO
 4           A. Yes.                                     4            I, Leila Heckert, CVR, the officer
 5           Q. Do you know if it was over 95            5     before whom the foregoing deposition was taken,
 6     percent?                                          6     do hereby certify that the witness whose
 7           A. I don't think so.                        7     testimony appears in the foregoing deposition
 8           Q. And you think the ConvNeXt model         8     was duly sworn by me; that the testimony of said
 9     is now over 95 percent?                           9     witness was taken by me in shorthand using
10           A. Yes.                                    10     Computer Aided Realtime, to the best of my
                                                        11     ability, and thereafter reduced to written
11           Q. Did you have the Compology images
                                                        12     format under my direction; that I am neither
12     on your laptop when you were working on the
                                                        13     counsel for, related to, nor employed by any of
13     ConvNeXt model?
                                                        14     the parties to the action in which the
14           MR. GALICA: Objection.
                                                        15     deposition was taken, and further that I am not
15           THE WITNESS: Yes.                          16     related or any employee of any attorney or
16           BY MR. GIBSON:                             17     counsel employed by the parties thereto, nor
17           Q. And this would be all 2000              18     financially or otherwise interested in the
18     images?                                          19     outcome of the action.
19           A. Yes. Yes.                               20
20           MR. GIBSON: Okay. I don't have             21
21     anything further at this time. So due to my      22
22     previous statements regarding inadequate time to 23
23     prepare for the late notice topic and the               <%29102,Signature%>
24     documents that were used for the witness, but    24     Leila Heckert, CVR
25     not produced before this deposition.             25
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